Case 2:18-cv-00230-JAK-GJS Document 6 Filed 01/10/18 Page 1 of 3 Page ID #:39




  1 KELLY M. KLAUS (State Bar No. 161091)
    kelly.klaus@mto.com
  2 ELIZABETH A. KIM (State Bar No. 295277)
    elizabeth.kim@mto.com
  3 MUNGER, TOLLES & OLSON LLP
    350 South Grand Avenue
  4 Fiftieth Floor
    Los Angeles, California 90071-3426
  5 Telephone: (213) 683-9100
    Facsimile: (213) 687-3702
  6
    MICHAEL B. DESANCTIS (pro hac vice pending)
  7 michael.desanctis@mto.com
    MUNGER, TOLLES & OLSON LLP
  8 1155 F Street N.W., Seventh Floor
    Washington, D.C. 20004-1357
  9 Telephone: (202) 220-1100
    Facsimile: (202) 220-2300
 10
    KAREN R. THORLAND (CA Bar No. 172092)
 11 karen_thorland@mpaa.org
    MOTION PICTURE ASSOCIATION OF AMERICA, INC.
 12 15301 Ventura Blvd., Building E
    Sherman Oaks, California 91403
 13 Telephone: (818) 935-5812
 14 Attorneys for Plaintiffs
 15
                              UNITED STATES DISTRICT COURT
 16
                   CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 17
 18 Netflix Studios, LLC; Amazon Content    NOTICE OF RELATED CASE
    Services, LLC; Columbia Pictures        [LOCAL CIVIL RULE 83–1.3.1]
 19 Industries, Inc.; Disney Enterprises,
    Inc.; Paramount Pictures Corporation;
 20 Twentieth Century Fox Film
    Corporation; Universal City Studios
 21 Productions LLLP; Warner Bros.
    Entertainment Inc.
 22
                  Plaintiffs,
 23
           vs.
 24
    Dragon Media Inc. d/b/a Dragon Box;
 25 Paul Christoforo; Jeff Williams.
 26                   Defendants.
 27
 28
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                                                NOTICE OF RELATED CASES - CIV. L.R. 83-1.3.1
Case 2:18-cv-00230-JAK-GJS Document 6 Filed 01/10/18 Page 2 of 3 Page ID #:40




  1            Pursuant to Civil Local Rule 83–1.3.1, Plaintiffs Netflix Studios, LLC,
  2 Amazon Content Services, LLC, Columbia Pictures Industries, Inc., Disney
  3 Enterprises, Inc., Paramount Pictures Corporation, Twentieth Century Fox Film
  4 Corporation, Universal City Studios Productions LLLP, and Warner Bros.
  5 Entertainment Inc. (collectively, “Plaintiffs”) file this Notice of Related Case.
  6 Plaintiffs respectfully submit that the above-captioned action is related to another
  7 case pending in this District: Universal City Studios Productions LLLP et al. v.
  8 TickBox TV LLC, No. 2:17-cv-07496-MWF-AS (hereinafter “TickBox”).
  9            Plaintiffs bring the instant action to halt the flagrantly infringing conduct of
 10 Defendants Dragon Media Inc. d/b/a Dragon Box, Paul Christoforo, and Jeff
 11 Williams. As set forth in Plaintiffs’ Complaint, Defendants intentionally induce
 12 widespread copyright infringement through their design, distribution, and promotion
 13 of a computer hardware device known as the “Dragon Box.” The same Plaintiffs
 14 have alleged similar claims for inducement liability against the defendant in the
 15 TickBox action. As set forth in Plaintiffs’ Complaint in the TickBox action, the
 16 defendant there intentionally induces widespread copyright infringement through its
 17 design, distribution, and promotion of a computer hardware device known as the
 18 “TickBox.”
 19            Plaintiffs believe that the above-captioned action and the TickBox action “call
 20 for determination of the same or substantially related or similar questions of law and
 21 fact.” Civ. L.R. 83–1.3.1(b). These questions include the scope of inducement
 22 liability under Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913
 23 (2005), and Columbia Pictures Industries, Inc. v. Fung, 710 F.3d 1020 (9th Cir.
 24 2013); and the design and promotion of products that utilize so-called “addons” that
 25 connect the purchasers of both the Dragon Box and the TickBox to infringing
 26 streams of Plaintiffs’ copyrighted works.
 27            Plaintiffs also believe that, in light of the overlap of legal, factual, and
 28 technological issues, the above-captioned action and the TickBox action are likely to
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                                                           NOTICE OF RELATED CASES - CIV. L.R. 83-1.3.1
Case 2:18-cv-00230-JAK-GJS Document 6 Filed 01/10/18 Page 3 of 3 Page ID #:41




  1 “entail substantial duplication of labor if heard by different judges.” Civ. L.R. 83–
  2 1.3.1(c).
  3 DATED: January 10, 2018              MUNGER, TOLLES & OLSON LLP
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  5                                      By:        /s/ Kelly M. Klaus
  6                                          KELLY M. KLAUS
                                         Attorneys for Plaintiffs
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